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                                                                                EXHIBIT 1
  iici' nawiai, ppriCTR
  JEFF TWATER
   sTAntOFPuwipA




     PEDRO R BOSCH                                                                                      CASE : 2016-008983 CA 01
                                                                                                        court: Circuit cou t
     PLAINT1FF(S                                                                                        COUNTY: iVJIAMI-D DE
                                                                                                        DFS-SOP#: 16-058863
     VS.

     NO THWES E N MUTUAL LIFE IHSURAHCE COMPANY,
     A FOREIG CdRP R fl
     DEFENDANT(S),
                                                 .                .               /
     SU ONS, CO PL I FOR DIS BILITY I S R NCE BE EFITS, EXHIBI




                                         NOTICE OF SERVICE OF PROCESS
     NOTIC IS HEREBY GIVEN of accepta ce of Service of Process by the ChiefFinancial
     Officer of the Stat of Florida. Said ocess was received in my office by PROCESS SE VER
     on the 18th da of April, 2016 and a co was forwarded by Electronic Delivery on the 27th day
     of April, 2016 to the designated gent for the named entit s shown below,

            OR HWES ER MU UAL LIFE INSURA CE COMPANY
           RAYMOND J ANISTA
           GE ERAL COUNSEL & SECRETARY
           720 E. WISCO SIN AVE, M S616
             ILWAUKEE, Wl 53202



     * Our office: wilt o ly serve the i iil l process (Summo s and Coiitpliunl) or Subpoena am) Is not responsible for tra smittal of any
     subsequent nilhgSi pleadings or documents unicss otherwise o ere by (be Court ptir iinnt id FloridH Utiles of Civil Procedure ole #1.080.




                                                                                              Jeff Atwate
                                                                                              Chie Financial Officer


      ce ipiPiairiliff s RcprCsOntalive for filing in appro riiue calirt:

       C LOS A, Z1EGE H1R , ESQ.
       CARLOS A, ZlEGENHIRT, P.A. T$
       150 A HA BRA CIRCLE
       SUITE 1200
       CORAL GABLES PL 33134
                                                                   Division ortcgal Services* Service of Process Section
                                       200 East Gaines Street - PO/ftox 6200 *Tai!aha3iM, Flnrida 32JH*6200 - (8SO)4i3-A200 * Fax (850} 922.2544
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                                                  IN THE CIRCUIT COU T OF THE 11 TH
                                                  JUDICIAL CIRCUIT IN A D FOR
                                                  MIAMI-DADE COU TY, FLORIDA

       PEDRO P. BOSCH,                                    CIVIL CIRCUIT DIVISION

                 Plaintiff,                               CASE O,: h



       NORTHWESTEI MUTUAL
       LIFE INSU ANCE COMPANY,
       a foreign corporation,

                 Defendant.
                                                                         .                   r

       TO: Northweste& -Mutual Life Insurance Company/ a Foreign cor oration
           c/o Florida Chief Financial Officer as Registered Agent

           P.O. Box 6200
             allahassee/ FL 32314 6200

                                           SUMMONS



                                            IMPORTA T

             A lawsuit as been filed inst you. ou h ve twenty (20) calendar days al er
       this summo s is served o ou to file a writt n response to tie attached
       complain /petition with he clerk of his circuit cour . A hone call will not p otec
       you. o ritten response, inclu ing the c se number given above nd the n mes of
       the parties, must be filed if yo want lire court io hear your si e of die case. If you o
       not file your written response on time, you ay lose the case, and your wages, one ,
       and property may thereafter be taken without further warnin from the cou t There
       are other leg l requi e ents. You m y ant to call an atto ey right a a . If you d
       not know an attorney, you ma call an tto ey referral service or a legal ai ffice
        (liste    the hone boo ),
                                                                                                      v<3
                                                                                                  \         \
                tt ou choose to file a ritte res onse yourself, at the sa e ti e you file our
        written response to the court you must also mail or take a copy of you written response
        o th            person named below. 4                                                               'M1
                                                                                  . . "' Y    A

                                                                                              V
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       WARNING: Rule 12.285, Florida Family Law R lies of P rocedure, requires certain
       automatic disclosure of documents and infor ation. Failure to co ply can result in
       sanctions, including dismissal or strikin of plea ings,

                                              IMFORT NTE

                 Usted ha sido de andado legal nte, Tiene veinte (20) dias, contados a partir
       del recibo de esfa notificaciOn, ar contest r la demanda adjmit , por escrito, y
       presentarla ante este tribunal. Una lla ad telef nica no lo protegera. Si usted dese
       que el bmal co i ere su efens , debe presentar su respuesta por escrito,
       ihclnyendo el ntnnerb del caso y los nombres de las partes interes das en dicho caso.
       Si usted no contesta l de and a de po, pudiese perder el caso y'pudiera ser
       des oj do de sus irigresOs y ropiedades, o privado de sus derechos, sin previo aviso
       del tribunal. Existen tros requisitos le ales. Si lo dese , usted uede consult r a mi
       abo do in e iat ente. Si n conoce a u a og do, puede lla ar a una e las
         fieiri s e asistend legal qtie a a eceri en l ui telefOnic .

               Si desea res o der a la e anda por su cuenta,          ismo tie o en ue
          esente su respu sta ante el tri nal, usted de e enviar por correo o entregar a
      f co ia de su respuesta la persona de omin da abajo como Plaintiff/Plaintiff s
        Attorne . (De andante Q bogado el Dema nte).

              AVISO: e ia 12.285, Flori a Fa ili Ley Reglas e Procedi ie to, demanda
       ciertos reveladones de documentos y informaciOn. Fracaso ara cumplir ued
       resultar en sa ciones lo pe incluir despxda o manifesto a abo ar.

                                           IMPORTANT

             Pes oursuites judiciares on ete entreprises centre vous. Vous avez 20 jours
       connsecutifs par ir d la date de ssi nation de cette cit ti n pour eposer un
       response ecrite a la plai te cijointe aupres de ce tri un l. Un si l coup de telephone
       est insuffisant our ous rotege ; vous etes obli s de depo er votre r ponse ecrite,
        vec mention du u he d e ossier - essus e du nom des a ies nominees id, si
       vous souhaitez que ie trib ial entencle votre cause. Si vous ne deposez as votre
       re onse ecrite d ns Ie delai requis, vous risquez de perd e la cause ainsi que votre
       salau*e, votr ear gent, et vos hie s euvent etre saisis par la suite, sans aticun reavis
       uherieur du ribun l. II y a 'autres o li a ions juridiques et vous po ivez re uerir les
       services im e iats 4'tm vocat Si yous ne codn issez as 'avocat, us ouriez
       fele honer a n servi e e reference d avocats ou a u bureau d'assistance juri ique
       (figurant a i'annuairede telephones).

                                                                                             /
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              Si vous choisissez, de deposer vous-meme ujie respoiise ecrite, il vous faudra
       egalement, faire parvenir ou expedier une copie au
       carbone ou une hptcxropie e votte re onse ecrite a la personne nommee ci-dessous.



       PREAVIS; La regie 12.285 des regies de rocedure du droit de la f mille e l Flori a
       exige ue 1'on remette certains renseign raents et certains documeiits a l partie
       a verse. Tout refus e les fOurnir pour a donner lieu a des sanctions, y com ris le rejet
       ou l su ression d'un ou de plusieurs actes de rocedure.




       Atto ey for Plaintiff: ENH1RT, Es .
                                                      ENHffiT, P.A.
                                                      cle. Suite 1200
                                    Cor l G bles, Florida 33134
                                    Tel: (305) 858-0220
                                    Fax: (305) 854-6810
                                    E-Mail Address: carl0s@ca2-laW.com



       THE STATE OF FLO ID :
       TO EACH SHERIFF OF THE STATE: You a e commanded to serve this summons
       a a co y of the com l int in this lawsuit on he above na defe a t

       DAITD on this 8th day of April, 2016.




                                                                           Kayla Fite
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